         Case 1:22-mj-00129-ZMF Document 1-1 Filed 06/06/22 Page 1 of 6




                                   STATEMENT OF FACTS

        Your affiant, Tyler Novak, is a Special Agent (SA) with the Federal Bureau of
Investigations (FBI) assigned to the Los Angeles Field Office, Long Beach Resident Agency. In
my duties as a special agent, I specialize in the investigation of domestic-terrorism. I successfully
completed the approximately 20 week New Agent Training at the FBI Academy in Quantico,
Virginia. During that time, I received training in physical surveillance, legal statutes and
procedures, confidential source management, and electronic surveillance techniques. I have also
assisted with the execution of search warrants in cases involving domestic terrorism investigations.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
         Case 1:22-mj-00129-ZMF Document 1-1 Filed 06/06/22 Page 2 of 6




President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On February 18, 2021, a person identified as a relative of Derek Sulenta (“Sulenta”)
submitted a public tip to the FBI identifying Sulentaas having entered the United States Capitol
building on January 6, 2021. Specifically, the tipster provided photographs of Sulenta inside the
U.S. Capitol from a Facebook Account identified by “dmoneyrollin24.” Posts from the account
outline Sulenta’s travels from Los Angeles International Airport to Washington D.C. Additonaly,
the Facebook photographs contain captions suchs as “#January6th, #seeyouthere” and “With the
rats in the swamp.” The tipster also provided Sulenta’s phone number as 951-259-XXXX.




        Based on the provided information, FBI took additional investigative steps. A review of
travel records confirmed that Sulenta travelled to Washington, D.C. on January 5, 2021. Sulenta’s
Facebook Account is registered to “Derek Sulenta.” The phone number attributed to Sulenta’s
Facebook Account (951-259-XXXX) is also subscribed to “Derek Sulenta.”

        Law enforcement also conducted an online search for a Facebook account for
“dmoneyrollin24.” It linked to the account that contained the below photo of Sulenta in which he
is wearing similar clothing to that capture in the January 6, 2021, surveillance photos described in
more detail below.
        Case 1:22-mj-00129-ZMF Document 1-1 Filed 06/06/22 Page 3 of 6




        Law enforcement also obtained a judicially authorized search warrant on Sulenta’s
Facebook account of “dmoneyrollin24” (“Sulenta’s Facebook Account”). Sulenta’s Facebook
Account contained postings on December 23, 2020, stating, “I’ll be there Jan 6th to support the
president no matter what happens” and “That’s the day he called for patriots to show up.” On
January 5, 2021, Sulenta’s Facebook Account indicated Sulenta left from Los Angeles
International Airport with the caption “we out.” That evening, Sulenta’s Facebook Account
indicated his location in Washington, D.C. with the caption “with the rats in the swamp.”

        As indicated previously, Sulenta’s Facebook Account also contained “selfies” of Sulenta
at the U.S. Capitol on January 6, 2021, and indicated he had entered the Capitol as well.




        Sulenta’s Facebook Account also contained a picture apparently taken by Sulenta from
inside the U.S. Capitol with the caption, “Took this from inside the capital (sic) building”
        Case 1:22-mj-00129-ZMF Document 1-1 Filed 06/06/22 Page 4 of 6




        A review of Capitol surveillance footage confirmed Sulenta entered the U.S. Capitol on
January 6, 2021. The footage indicated Sulenta entered the U.S. Capitol through the Senate Wing
door at approximately 2:26 p.m. that day. He then walked towards the U.S. Capitol crypt area
talking on his phone and taking photographs.




A photograph from an open source Youtube video shows that Sulenta inside the U.S. Capitol,
appearing to take photographs of the events of that day from inside a Senate room.
         Case 1:22-mj-00129-ZMF Document 1-1 Filed 06/06/22 Page 5 of 6




Sulenta eventually exited the U.S. Capitol at approximately 3:13 pm with others through the Senate
Wing doors. In total, Sulenta was inside the U.S. Capitol building for approximately 47 minutes.




        Sulenta’s Facebook Account confirmed his involvement in the activites on January 6, 2021.
It contained posts including, “Dude we breached the capital (sic) building” and “we got pushed
back then a shitload more people came in and we went further.” Furthermore, there was a post
stating, “Inside the capital building. This is wild!”

         A comparison to Sulenta’s California Driver’s License photo shows a close resemblance
to the individual in the Facebook photographs from within the U.S. Capitol as well as the individual
observed in the CCTV footage inside the U.S. Capitol.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Derek Sulenta violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
         Case 1:22-mj-00129-ZMF Document 1-1 Filed 06/06/22 Page 6 of 6




restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that Derek Sulenta violated 40
U.S.C. § 5104(e)(2)(D)&(G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Special Agent Tyler Novak
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 6th day of June 2022.
                                                                        Zia M. Faruqui
                                                                        2022.06.06 18:53:17
                                                                        -04'00'
                                                      ___________________________________
                                                      HONARABLE ZIA M. FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE
